Case 2:15-ml-02668-PSG-SK Document 1077 Filed 11/29/23 Page 1 of 5 Page ID #:42611



     1   Beth A. Wilkinson (admitted pro hac vice)
         Brian L. Stekloff (admitted pro hac vice)
     2   Rakesh N. Kilaru (admitted pro hac vice)
         Jeremy S. Barber (admitted pro hac vice)
     3   WILKINSON STEKLOFF LLP
         2001 M Street NW, 10th Floor
     4   Washington, DC 20036
         Telephone: (202) 847-4000
     5   Facsimile: (202) 847-4005
         bwilkinson@wilkinsonstekloff.com
     6   bstekloff@wilkinsonstekloff.com
         rkilaru@wilkinsonstekloff.com
     7   jbarber@wilkinsonstekloff.com
     8   Gregg H. Levy (admitted pro hac vice)
         Derek Ludwin (admitted pro hac vice)
     9   John S. Playforth (pro hac vice pending)
         COVINGTON & BURLING LLP
    10   One CityCenter, 850 10th Street NW
         Washington, D.C. 20001
    11   Telephone: (202) 662-6000
         Facsimile: (202) 778-5429
    12   dludwin@cov.com
         jplayforth@cov.com
    13
         Counsel for Defendants National Football
    14   League, NFL Enterprises LLC, and the
         Individual NFL Clubs
    15

    16                                UNITED STATES DISTRICT COURT
    17                             CENTRAL DISTRICT OF CALIFORNIA
    18
           IN RE: NATIONAL FOOTBALL                    Case No. 2:15-ml-02668−PSG (SKx)
    19     LEAGUE’S “SUNDAY TICKET”
           ANTITRUST LITIGATION                        JOINT STIPULATION TO USE
    20     ______________________________              ELECTRONIC EQUIPMENT
    21
           THIS DOCUMENT RELATES TO:                   Judge: Hon. Philip S. Gutierrez
    22     ALL ACTIONS                                 Date: December 11, 2023
    23                                                 Time: 10:00 a.m.
                                                       Courtroom: First Street Courthouse
    24                                                            350 West 1st Street
    25                                                            Courtroom 6A
                                                                  Los Angeles, CA 90012
    26

    27

    28


          Case No. 2:15-ml-02668-PSG (SKx)           Joint Stipulation to Use Electronic Equipment
Case 2:15-ml-02668-PSG-SK Document 1077 Filed 11/29/23 Page 2 of 5 Page ID #:42612



     1           Pursuant to Judge Gutierrez’s procedures, Plaintiffs and the NFL Defendants,
     2   by and through their respective counsel, hereby stipulate to the use of electronic
     3   equipment in the courtroom at the December 11, 2023, hearing on Defendants’
     4   Motion for Summary Judgment and Plaintiffs’ Motion to Compel Compliance with
     5   the Court's August 11, 2022 Order and to Permit Plaintiffs to Take Depositions
     6   Regarding the New Sunday Ticket Agreements. The electronic equipment to be
     7   used at the hearing may include, but is not limited to, cell phones, tablets, laptop
     8   computers, flash drives, presentation remotes and/or clickers with laser pointing
     9   devices, and associated cables, power strips, and adaptors. It is further stipulated
    10   that the parties and their respective electronic equipment may further make use of
    11   and connect to the Court’s projectors, monitors, and other existing courtroom
    12   equipment to save time when presenting.
    13

    14   IT IS SO STIPULATED.
    15   Dated: November 29, 2023               Respectfully submitted.
    16                                          /s/ Rakesh N. Kilaru
    17                                          Rakesh N. Kilaru (admitted pro hac vice)
                                                Beth A. Wilkinson (admitted pro hac vice)
    18                                          Brian L. Stekloff (admitted pro hac vice)
                                                Jeremy S. Barber (admitted pro hac vice)
    19                                          WILKINSON STEKLOFF LLP
                                                2001 M Street NW, 10th Floor
    20
                                                Washington, DC 20036
    21                                          Telephone: (202) 847-4000
                                                Facsimile: (202) 847-4005
    22                                          rkilaru@wilkinsonstekloff.com
                                                bwilkinson@wilkinsonstekloff.com
    23                                          bstekloff@wilkinsonstekloff.com
    24                                          jbarber@wilkinsonstekloff.com

    25                                          Neema T. Sahni (Bar No. 274240)
                                                COVINGTON & BURLING LLP
    26                                          1999 Avenue of the Stars
                                                Suite 1500
    27
                                                Los Angeles, CA 90067-6045
    28                                          Telephone: (424) 332-4800
                                                  1
          Case No. 2:15-ml-02668-PSG (SKx)          Joint Stipulation to Use Electronic Equipment
Case 2:15-ml-02668-PSG-SK Document 1077 Filed 11/29/23 Page 3 of 5 Page ID #:42613



     1                                       Facsimile: (424) 332-4749
                                             nsahni@cov.com
     2

     3                                       Gregg H. Levy (admitted pro hac vice)
                                             Derek Ludwin (admitted pro hac vice)
     4                                       John S. Playforth (admitted pro hac vice)
                                             COVINGTON & BURLING LLP
     5                                       One CityCenter
                                             850 Tenth Street NW
     6
                                             Washington, DC 20001
     7                                       Telephone: (202) 662-6000
                                             Facsimile: (202) 662-6291
     8                                       glevy@cov.com
                                             dludwin@cov.com
     9                                       jplayforth@cov.com
    10
                                             Counsel for Defendants National Football
    11                                       League, NFL Enterprises LLC, and the
                                             Individual NFL Clubs
    12

    13                                       /s/ Ian M. Gore
    14                                       Sathya S. Gosselin (269171)
                                             sgosselin@hausfeld.com
    15                                       Farhad Mirzadeh (Pro Hac Vice)
                                             fmirzadeh@hausfeld.com
    16                                       HAUSFELD LLP
    17
                                             888 16th Street, N.W., Suite 300
                                             Washington, DC 20006
    18                                       Tel: (202) 540-7200
                                             Fax: (202) 540-7201
    19
                                             Marc M. Seltzer (54534)
    20                                       mseltzer@susmangodfrey.com
    21                                       SUSMAN GODFREY L.L.P.
                                             1900 Avenue of the Stars, Suite 1400
    22                                       Los Angeles, CA 90067
                                             Tel: (310) 789-3100
    23                                       Fax: (310) 789-3150
    24
                                             William C. Carmody (Pro Hac Vice)
    25                                       bcarmody@susmangodfrey.com
                                             Seth Ard (Pro Hac Vice)
    26                                       sard@susmangodfrey.com
                                             Tyler Finn (Pro Hac Vice)
    27                                       tfinn@susmangodfrey.com
    28                                       SUSMAN GODFREY L.L.P
                                               2
          Case No. 2:15-ml-02668-PSG (SKx)         Joint Stipulation to Use Electronic Equipment
Case 2:15-ml-02668-PSG-SK Document 1077 Filed 11/29/23 Page 4 of 5 Page ID #:42614



     1                                       1301 Avenue of the Americas, 32nd Fl.
                                             New York, NY 10019
     2                                       Tel: (212) 336-8330
     3
                                             Fax: (212) 336-8340

     4                                       Ian M. Gore (Pro Hac Vice)
                                             igore@susmangodfrey.com
     5                                       SUSMAN GODFREY L.L.P.
                                             1201 Third Avenue, Suite 3800
     6                                       Seattle, WA 98101
     7                                       Tel: (206) 505-3841
                                             Fax: (206) 516-3883
     8
                                             Scott Martin (Pro Hac Vice)
     9                                       smartin@hausfeld.com
    10
                                             HAUSFELD LLP
                                             33 Whitehall Street, 14th Floor
    11                                       New York, NY 10004
                                             Tel: (646) 357-1100
    12                                       Fax: (212) 202-4322
    13                                       Christopher L. Lebsock (184546)
    14                                       clebsock@hausfeld.com
                                             Samuel Maida (333835)
    15                                       smaida@hausfeld.com
                                             HAUSFELD LLP
    16                                       600 Montgomery St., Suite 3200
                                             San Francisco, CA 94111
    17
                                             Tel: (415) 633-1908
    18                                       Fax: (415) 633-4980
    19                                       Howard Langer (Pro Hac Vice)
                                             hlanger@langergrogan.com
    20                                       Edward Diver (Pro Hac Vice)
    21                                       ndiver@langergrogan.com
                                             Peter Leckman (235721)
    22                                       pleckman@langergrogan.com
                                             Kevin Trainer (Pro Hac Vice)
    23                                       ktrainer@langergrogan.com
                                             LANGER GROGAN AND DIVER PC
    24                                       1717 Arch Street, Suite 4020
    25                                       Philadelphia, PA 19103
                                             Tel: (215) 320-5660
    26                                       Fax: (215) 320-5703
    27                                       Plaintiffs’ Co-Lead Counsel
    28
                                               3
          Case No. 2:15-ml-02668-PSG (SKx)         Joint Stipulation to Use Electronic Equipment
Case 2:15-ml-02668-PSG-SK Document 1077 Filed 11/29/23 Page 5 of 5 Page ID #:42615



     1 All signatories listed, and on whose behalf the filing is submitted, concur in the
     2 filing’s content and have authorized the filing.

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
                                                  4
          Case No. 2:15-ml-02668-PSG (SKx)            Joint Stipulation to Use Electronic Equipment
